                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW MEXICO

RODERICK LUJAN, as Personal Representative
Of the Estate of CLEOTILDE URIOSTE,

       Plaintiff,

vs.                                                           Cause No. 2:11-CV-00362
                                                                    GBW/CG

CORPORATION X, CORPORATION Y,
VISTA LIVING COMMUNITIES, LLC,
AN OHIO COMPANY, d/b/a THE ARBORS OF DEL REY,
JESUS ROBERTO DURAN, M.D.,
JOHN DOES 1-5 AND JANE DOES 1-5,

       Defendants.


                        PLAINTIFF’S MOTION TO REMAND

       COMES NOW, the Plaintiff, by and through his attorneys of record, The

Kauffman Firm (Cid D. Lopez), Tim Chelpaty, and David Romero, and respectfully

requests this matter to be immediately remanded to the state court, specifically, the

Fourth Judicial District Court of New Mexico.          Defendant’s Notice of Removal is

factually incorrect and legally erroneous [Doc. 1]. This Court does not have subject

matter jurisdiction over this matter and it therefore must be remanded to state court. As

grounds for Plaintiff’s Motion, Plaintiff states the following:

                                   NATURE OF SUIT

       Plaintiff’s claim is on behalf of the Estate of Cleotilde Urioste (deceased) for

wrongful death, medical negligence, breach of contract, misrepresentation, unfair trade

practices, violation of the Resident Abuse and Neglect Act, and loss of consortium.
        Plaintiff alleges that Defendant Vista Living Communities, LLC (Defendant

Vista), as well as Jesus Roberto Duran, M.D., Corporation X, Corporation Y, and John

and Jane Doe 1-5 were individually and collectively liable for wrongful and negligent

acts that were the direct and proximate cause of Cleotilde Urioste’s death. 1


                                PROCEDURAL BACKGROUND

    1. Plaintiff’s lawsuit was filed on February 8, 2011 in the Fourth Judicial District

        Court of New Mexico.

    2. Defendant Vista’s registered agent was served with the Summons and Complaint

        by certified mail on March 30, 2011.

    3. Defendant Vista filed its Notice of Removal [Doc. 1] on April 29, 2011.

        Plaintiff’s Motion to Remand is therefore timely. 28 U.S.C § 1447(c).

    4. Defendant Jesus R. Duran, M.D. was personally served with the Summons and

        Complaint on May 4, 2011.               EX. 1, attached hereto Summons served on

        Defendant Duran.

    5. Concurrence to this Motion to Remand from counsel for Defendant Vista was

        sought but it was not given.

                                            AUTHORITY

        Federal removal jurisdiction is statutory in nature and must be strictly construed.

See Shamrock Oil & Gas Corp., v. Sheets, 313 U.S. 100, 108-109 (1941); Pritchett v.

Office Depot, Inc., 404 F.3d 1232, 1235 (10th Cir. 2005) (“It is well established that the

statutes conferring jurisdiction upon the federal courts, and particularly removal statues,

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  Because no discovery has been conducted on the issue, presently Plaintiff does not know the name(s) of
the entiy(ies) that employed Defendant Duran at relevant times. It is believed that any such entity would be
a corporaition or company registered under the laws of the State of New Mexico, further supporting
Plaintiff’s argument that this Court lacks subject matter jurisdiction.


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are to be narrowly construed in light of our constitutional roles as limited tribunals.”) A

party invoking federal jurisdiction has the burden of establishing its propriety. See

Montoyo v. Chao, 296 F.3d 952, 955 (10th Cir. 2002); State Farm Mut. Auto. Ins. Co. v.

Narvaez, 149 F.3d 1269, 1271 (10th Cir. 1998); Laughlin v. Kmart Corp., 50 F.3d 871,

873 (10th Cir. 1995). That burden, moreover, is a heavy one. Fajen v. Found. Reserve

Ins., 683 F.2d 331, 333 (10th Cir. 1982) (observing that “all doubts are to be resolved

against removal”). The Courts will assume as true all allegations in the complaint,

resolving all doubt in favor of remand. Laughlin, 50 F.3d at 873.

                   DEFENDANT VISTA’S REMOVAL IS IMPROPER

        Defendant Vista’s Notice of Removal, Paragraph 12, states that Defendant Vista

is a corporation organized under the laws of the State of Ohio with its principal place of

business in Toledo, Ohio. Defendant Vista incorrectly contends that this Court has

subject matter jurisdiction based solely on the fact that Defendant Vista is an Ohio

corporation and Plaintiff is a resident of New Mexico. Defendant Vista acknowledges

that a co-defendant in this lawsuit is Jesus Roberto Duran, M.D. (Paragraph 6 and Exhibit

B, Paragraphs 3 and 4), but contends that removal is proper because Defendant Duran

had not been served with the Summons and Complaint at the time of filing the Notice of

Removal. 2 Defendant Vista’s argument however, is mispaced, as it is well-settled that a

party’s failure to serve a defendant who would destroy diversity does not justify removal.

See Pecherski v. General Motors Corp., 636 F.2d 1156, 1160 (8th Cir. 1981) (“[T]he

prevailing view is that the mere failure to serve a defendant who would defeat diversity

jurisdiction does not permit a court to ignore that defendant in determining the propriety


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 Defendant does not contend this Court has jurisdiction on the basis of federal question. Therefore,
Plaintiff does not address this issue in her Motion to Remand.


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of removal.”); see also Pullman Co. v. Jenkins, 305 U.S. 534, 541 (1939) (“[T]he fact

that the resident defendant has not been served with process does not justify removal by

the non-resident defendant.”).

       In a flawed attempt to create complete diversity, Defendant Vista has ignored the

fact that its co-defendant, Dr. Duran, at material times was a resident and still is a

resident of the State of New Mexico, and continues to practice medicine in this state. EX.

2, attached hereto, New Mexico Medical Board Physician General Information

Inquiry. Defendant Vista hastily removed this action knowing full well that Defendant

Duran was a named party to this lawsuit and that a Summons had been issued on March

22, 2011 to Defendant Duran. As opposed to contacting Plaintiff’s counsel to inquire

whether Plaintiff had served, intended to serve or abandoned his claims against

Defendant Duran, Defendant Vista chose to remove this lawsuit on legally defective

grounds.

       Due to difficulties having Defendant Duran served with the Summons and

Complaint, Plaintiff was unable to immediately serve Defendant Duran following the

filing this lawsuit; however, service of process on Defendant Duran has now been

completed. In any event, as cited supra, Defendant Vista cannot remove simply because

a resident defendant has not yet been served with process. “As a matter of common

sense, the court is confident, beyond any doubt, that Congress did not add the "properly

joined and served" language in order to reward defendants for conducting and winning a

race, which serves no conceivable public policy goal, to file a notice of removal before

the plaintiffs can serve process….[R]emovability cannot rationally turn on the timing or




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sequence of service of process.” Sullivan v. Novartis Pharms., 575 F.Supp.2d 640, 646

(D.N.J. 2008).

       Moreover, Defendant has not provided evidence of a clear and unequivocal

expression by Plaintiff that could possibly be construed as an intention to abandon his

claims against Defendant Duran.          To the contrary, Plaintiff has personally served

Defendant Duran. Absent such showing, any express or implicit argument by Defendant

Vista that Plaintiff has voluntarily abandoned such claims must fail. See Delatte v. Zurich

Ins. Co., 683 F.Supp. 1062, 1063-64 (M.D. La. 1988) (“In order to constitute a voluntary

abandonment, however, there must be a definite or unequivocal expression of intent to

discontinue the action against the non-diverse party.”). Pursuant to 28 U.S.C. § 1447(c),

this case must be remanded to state court for want of subject matter jurisdiction.

         PLAINTIFF’S REQUEST FOR COSTS AND ATTORNEY FEES

       Following receipt of Defendant Vista’s Notice of Removal, undersigned counsel

immediately phoned counsel for Defendant Vista to explain that his client’s Notice of

Removal was improper. Undersigned counsel respectfully pointed out that Defendant

Duran is a resident of New Mexico, and, as a result, Defendant Vista’s Notice of

Removal was improper. Undersigned counsel further pointed out that pursuant to 28

U.S.C. § 1447(c), Plaintiff may be entitled to costs and attorney fees upon remand of this

lawsuit to state court. Counsel for Defendant Vista refused to withdraw the Notice of

Removal.    Under these circumstances, Plaintiff respectfully requests that this Court

award Plaintiff the costs and attorney fees incurred as a result of Defendant Vista’s

improper removal. See e.g. Cornwall v. Robinson, 654 F.2d 685 (10th Cir. 1981); Baas v.

Elliot, 71 F.R.D. 693 (E.D.N.Y. 1976).




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                                      CONCLUSION

       Based on the foregoing, Defendant’s Notice of Removal was improper and legally

deficient, as complete diversity between the parties is lacking. Plaintiff respectfully prays

that the Court issue an order remanding the case to state court, an award of the attorney fees

and cost incurred in moving the Court to remand, and for such additional relief as the Court

deems just and proper.



                                                      Respectfully submitted by:
                                                      The Kauffman Firm

                                                      /s/ Cid D. Lopez
                                                      ___________________________
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                                                      Attorneys for Plaintiff



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                             CERTIFICATE OF SERVICE

 I HEREBY CERTIFY that Plaintiff served a true and accurate copy of PLAINTIFF’S
 MOTION TO REMAND on counsel of record, Steven S. Scholl and Matthew Hironaka,
 through the CM/ECF system, which caused all parties entitled to notice to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing on this 5th day
                                      of May, 2011.
_____/s/ Cid D. Lopez________
Cid D. Lopez
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